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Case 2:10-cv-02297-SJO-JC Document 1

Richard K. Gustafson II (Bar No. 193914)
Legal Helpers, P.C.

233 S. Wacker Drive, Suite 5150
Chicago, IL 60606

Tel: 1.866.339.1156

Fax: 1.312.822.1064
tkg@legalhelpers.com

Attorney for Plaintiff

Filed 03/30/10 Pagelof8 Page ID #:1

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CLERK U.S. DISTRICT COURT
CENTRAL GIST. OF CALIF.
LOS ANGELES

BY:

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

Irene Moreno-Morales
Plaintiff,

v.

Central Credit Services, Inc.

Defendant.

 

Case MF Dy 10-02297
Judge: STO CICK)

COMPLAINT FOR DAMAGES
UNDER THE FAIR DEBT
COLLECTION PRACTICES ACT,
ROSENTHAL FAIR DEBT
COLLECTION PRACTICES ACT AND
OTHER EQUITABLE RELIEF

JURY DEMAND ENDORSED HEREIN

 

 

 

JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

Act (FDCPA), 15 U.S.C. §1692 and under the doctrine of Supplemental Jurisdiction pursuant

to 28 U.S.C. §1367(a). Venue is proper because a substantial part of the events giving rise to

this claim occurred in this judicial district.

FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

was retained by the owner to collect the debt.

Complaint - 1

 
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Case 2:10-cv-02297-SJO-JC Document1 Filed 03/30/10 Page 2of8 Page ID #:2

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Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).
Plaintiff filed this claim within the timeframe permitted under the FDCPA.
On or around September 11, 2009, Defendant telephoned Plaintiff.
During this communication, Defendant threatened to sue Plaintiff if the debt was not paid.
During this communication, Defendant threatened to garnish Plaintiff's wages if the debt was
not paid.
At the time of these communications, Defendant had neither the intent nor ability to sue
Plaintiff.
At the time of these communications, Defendant had neither the intent nor ability to garnish
Plaintiff's wages.
Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial
anxiety and stress.
Defendant violated the FDCPA.
COUNT ONE

Violation of the Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,
and/or legal status of the debt.

COUNT TWO

Violation of the Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be

taken and/or that was not intended to be taken.

Complaint - 2

 
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Case 2:10-cv-02297-SJO-JC Document1 Filed 03/30/10 Page 3of8 Page ID #:3

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COUNT THREE
Violation of the Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
Defendant violated 15 U.S.C. §1692e by making misrepresentations during its
communications with Plaintiff.
COUNT FOUR
Violation of the Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or
unconscionable means to collect the debt.
COUNT FIVE
Violation of the Rosenthal Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
In falsely representing to Plaintiff the non-payment of the debt may result in legal action
against Plaintiff, Defendant violated California Civil Code §§ 1788.10(e).
COUNT SIX
Violation of the Rosenthal Fair Debt Collection Practices Act

Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
In falsely representing that a legal proceeding has been, or is about to be, or will be instituted
against Plaintiff unless payment of the debt was made, Defendant violated California Civil
Code §§ 1788.13(j).

JURY DEMAND

Plaintiff demands a trial by jury.

Complaint - 3

 
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PRAYER FOR RELIEF

27. Plaintiff prays for the following relief:

a. Judgment against Defendant for actual damages, statutory damages pursuant to 15

c.

U.S.C. §1692k and costs, and reasonable attorney’s fees pursuant to 15 U.S.C.
§1692k.

Judgment against Defendant for actual damages pursuant to California Civil Code
§ 1788.30(a), statutory damages for a knowing or willful violation in an amount
up to $1,000 pursuant to California Civil Code § 1788.30(b); and reasonable
attorneys’ fees and costs pursuant to California Civil Code § 1788.30(c).

For such other legal and/or equitable relief as the Court deems appropriate.

Respectfully submitted,
Legal Helpers, P.C.

By: /s/ Richard K. Gustafson

Richard K. Gustafson (Bar # 193914)
233 S. Wacker Drive, Suite 5150
Chicago, IL 60606

Tel: 1.866.339.1156

Fax: 1.312.822.1064
rkg@legalhelpers.com

Attorney for Plaintiff

Complaint - 4

 
Case 2:10-cv-02297-SJO-JC Document1 Filed 03/30/10 Page5of8 Page ID#:5

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge S. James Otero and the assigned discovery
Magistrate Judge is Jacqueline Chooljian.

The case number on all documents filed with the Court should read as follows:

CV10- 2297 SJO (JCx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division [_] Southern Division [_] Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:10-cv-02297-SJO-JC Document1 Filed 03/30/10 Page 6of8 Page ID #:6

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Irene Moreno-Morales CASE NUMBER

 

PLAINTIFF(S)
Vv. Cy 10 02297-St0@

Central Credit Services, Inc.

 

 

 

 

 

SUMMONS
DEFENDANT(S).

TO: DEFENDANT(S): Central Credit Services, Inc.

A lawsuit has been filed against you.

Within 21 _ days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached ™ complaint O amended complaint
C1 counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, Richard K. Gustafson II , whose address is
233 8. Wacker Dr., Suite 5150 Chicago, IL 60606 . If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court

=

Date: 20 MAR 2010 be

Deputy Clerk

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-O1A (12/07) SUMMONS
Case 2:10-cv-02297-SJO-JC Document1 Filed 03/30/10 Page 7 of8 Page ID #:7

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

DEFENDANTS

I (a) PLAINTIFFS (Check box if you are representing yourself LI) [ '
Central Credit Services, Inc.

Irene Moreno-Morales

(b) County of Residence of First Listed Plaintiff (Except in U_S. Plaintiff Cases): County of Residence of First Listed Defendant (In U.S. Plaintiff Cases Only):

Los Angeles

(c) Attorneys (Firm Name, Address and Telephone Number. If you are representing | Attorneys (If Known)
yourself, provide same.)

Legal Helpers, P.C. 233 S. Wacker Dr., Ste 5150
Chicago, IL 60606 866-339-1156

 

 

Il. BASIS OF JURISDICTION (Place an X in one box only.) IIL. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
0 1 U.S, Government Plaintiff w3 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State O1 G1 Incorporated or Principal Place O4 O14
of Business in this State
(02 U.S. Government Defendant 4 Diversity (Indicate Citizenship | Citizen of Another State 2 (2 Incorporated and Principal Place O5 O5
of Parties in Item III) of Business in Another State
Citizen or Subject of a Foreign Country 03 03 _ Foreign Nation OH6 O06

 

 

IV. ORIGIN (Place an X in one box only.)

M1 Original (12 Removed from O13 Remanded from (14 Reinstated or O15 Transferred from another district (specify): [1 6 Multi- O17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: (Yes [I No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: © Yes {No iW MONEY DEMANDED IN COMPLAINT: $_ 10,000.00

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
15 USC 1692 Violations of the Fair Debt Collection Practices Act

 

VIL NATURE OF SUIT (Place an X in one box only )

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT SPORTS TORTS | - PRISONER LABOR

1 400 State Reapportionment |1 110 Insurance PERSONAL INJURY PERSONAL ie PETIPIONS: 710 Fair Labor Standards

(1410 Antitrust 0120 Marine © 310 Airplane PROPERTY 10510 Motions to Act

(430 Banks and Banking 0130 Miller Act (1315 Airplane Product | 370 Other Fraud Vacate Sentence {1 720 Labor/Mgmt.

0 450 Commerce/ICC O 140 Negotiable Instrument Liability O 371 Truth in Lending Habeas Corpus Relations
Rates/etc 0 150 Recovery of 320 Assault, Libel & [1380 Other Personal |[1 530 General 0 730 Labor/Mgmt

0) 460 Deportation Overpayment & Slander Property Damage |Z 535 Death Penalty Reporting &

(0 470 Racketeer Influenced Enforcement of 0 330 Fed. Employers’ [11 385 Property Damage |Z 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other 0 740 Railway Labor Act
Organizations | Medicare Act 0 340 Marine BANKRUPTCY (10 550 Civil Rights (1 790 Other Labor

0 480 Consumer Credit (152 Recovery of Defaulted [[11 345 Marine Product [£1422 Appeal28 USC |[£1555 Prison Condition Litigation

(1 490 Cable/Sat TV Student Loan (Excl. Liability 158 FORFEITURE / (0791 Empl. Ret. Inc.

C1 810 Selective Service Veterans) (1350 Motor Vehicle 0) 423 Withdrawal 28 ~ PENALTY: ~ Security Act

CO) 850 Securities/Commodities | 153 Recovery of 0 355 Motor Vehicle USC 157 01610 Agriculture - PROPERTY RIGHTS
/Exchange Overpayment of Product Liability CIVIL RIGHTS 0620 Other Food & 0 820 Copyrights

0 875 Customer Challenge 12 Veteran’s Benefits 360 Other Personal 0 441 Voting Drug 0 830 Patent
USC 3410 0 160 Stockholders’ Suits Injury 0 442 Employment (10625 Drug Related 0 840 Trademark

890 Other Statutory Actions |] 190 Other Contract DO 362 Personal Injury- |) 443 Housing/Acco- Seizure of SOCIAL SECURITY

0 891 Agricultural Act 0 195 Contract Product Med Malpractice mmodations Property 21 USC {0 861 HIA (1395ff)

(1 892 Economic Stabilization Liability (1365 Personal Injury- |() 444 Welfare 881 0 862 Black Lung (923)
Act 0 196 Franchise Product Liability | 445 American with |[1 630 Liquor Laws 0 863 DIWC/DIWW

(1 893 Environmental Matters REAL PROPERTY 1 368 Asbestos Personal Disabilities - 10640 R.R. & Truck (405(g))

(1) 894 Energy Allocation Act {1 210 Land Condemnation Injury Product Employment 11650 Airline Regs C1 864 SSID Title XVI

0 895 Freedom of Info. Act (1 220 Foreclosure Liability (1446 American with {11 660 Occupational 01) 865 RSI(405(g))

(J 900 Appeal of Fee Determi- [4 230 Rent Lease & Ejectment Disabilities - Safety /Health FEDERAL TAX SUITS
nation Under Equal 0 240 Torts to Land Other 0690 Other 0 870 Taxes (U.S. Plaintiff
Access to Justice 0 245 Tort Product Liability 0 440 Other Civil or Defendant)

(950 Constitutionality of © 290 All Other Real Property Rights O 871 IRS-Third Party 26
State Statutes USC 7609

VIII(a). IDENTICAL CASES: Has this action been previously filed and dismissed, remanded or closed? No O Yes

If yes, list case number(s):

FOR OFFICE USEONLY: — Case Number: y : f ¥ } — cas § ? ? g 7 ‘

CV-71 (07/05) CIVIL COVER SHEET — Page | of 2
Case 2:10-cv-02297-SJO-JC Document1 Filed 03/30/10 Page 8of8 Page ID #:8

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

VIII(b). RELATED CASES: Have any cases been previously filed that are related to the present case? MNo O Yes

If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) [1 A. Arise from the same or closely related transactions, happenings, or events, or
OB. Call for determination of the same or substantially related or similar questions of law and fact; or
OC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: List the California County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet if necessary)
HO Check here if the U.S. government, its agencies or employees is a named plaintiff.
Lost Angeles

List the California County, or State if other than California, in which EACH named defendant resides. (Use an additional sheet if necessary).
1 Check here if the U.S. government, its agencies or employees is a named defendant.
Sacramento

List the California County, or State if other than California, in which EACH claim arose. (Use an additional sheet if necessary)
Note: In land condemnation cases, use the location of the tract of land involved.
Los Angeles

 

2 a db
Jira \
X. SIGNATURE OF ATTORNEY (OR PRO PER): K: hen L 2 Ne, NN = 2 Date 3/pal lo

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and ents i neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conférence of the United States in September 1974, is required pursuant to Local Rule 3-1 is not
filed but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions
sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended, plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social
Security Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
USC. (g))

 

CV-71 (07/05) CIVIL COVER SHEET Page 2 of 2
